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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION


  ALPINE CAPITAL, LLC,
  a North Carolina limited liability company,

                        Plaintiff,

  v.                                                        CASE NO.:

  SATORI WATERS, LLC, a Florida limited liability
  company; LUXE WELLNESS, LLC, a Florida
  limited liability company; KENSHO WELLNESS
  GROUP, LLC, a Florida limited liability company;
  TREATMENT RESOURCES OF MARGATE,
  LLC, a Florida limited liability company; SW
  LABS LLC, a Florida limited liability company;
  ALMOST THERE LLC., a Florida limited liability
  company; LABSURE LLC, a Florida limited
  liability company; QUANTITATIVE LAB
  SOLUTIONS, LLC, a Florida limited liability
  company; ZENDO PROPERTIES, LLC, a Florida
  limited liability company; SATORI WATERS III,
  LLC, a Florida limited liability company; SATORI
  WATERS IV, LLC, a Florida limited liability
  company; RR INVESTCO LLC, a Florida limited
  liability company; and RR MEDCO LLC, a Florida
  limited liability company,

                        Defendants.


                          VERIFIED FORECLOSURE COMPLAINT

         Plaintiff, Alpine Capital, LLC, a North Carolina limited liability company (“Plaintiff”),

  sues Defendants, Satori Waters, LLC, a Florida limited liability company; Luxe Wellness, LLC,

  a Florida limited liability company; Kensho Wellness Group, LLC, a Florida limited liability

  company; Treatment Resources of Margate, LLC, a Florida limited liability company; SW Labs

  LLC, a Florida limited liability company; Almost There LLC., a Florida limited liability

  company; LabSure LLC, a Florida limited liability company; Quantitative Lab Solutions, LLC, a
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  Florida limited liability company; Zendo Properties, LLC, a Florida limited liability company;

  Satori Waters III, LLC, a Florida limited liability company; Satori Waters IV, LLC, a Florida

  limited liability company; RR Investco LLC, a Florida limited liability company; and RR Medco

  LLC, a Florida limited liability company (collectively “Borrower”), and alleges:

                            PARTIES, JURISDICTION AND VENUE

         1.      The Court has jurisdiction pursuant to 28 U.S.C. § 1332 because the amount in

  controversy exceeds $75,000 and the parties are completely diverse.

         2.      Plaintiff is a limited liability company organized and existing under the laws of

  the State of North Carolina. As a limited liability company, Plaintiff’s citizenship is determined

  by that of its members. Rolling Greens MHP, L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d

  1020, 1022 (11th Cir. 2004). Plaintiff has one member, Parallel South Holdings, Inc., a North

  Carolina corporation with its principal place of business in North Carolina, which for purposes of

  diversity is a citizen of North Carolina. See 28 U.S.C. § 1332(c)(1); Hertz Corp. v. Friend, 559

  U.S. 77, 88 (2010) (In diversity cases, “corporations are citizens of their state of incorporation

  and their principal place of business.”). Accordingly, Plaintiff is a citizen of North Carolina for

  diversity purposes.

         3.      Defendant Satori Waters, LLC is a limited liability company organized under the

  laws of the State of Florida. As a limited liability company, Satori Waters, LLC’s citizenship is

  determined by that of its members. Rolling Greens MHP, L.P., 374 F.3d at 1022. Satori Waters,

  LLC has seven members, Red Panda Consulting Corp (“Red Panda Corp”), Barry Reiman

  Psy.D, Inc (“Reiman, Inc”), Alzadah LLC, Douglas L. O’Keefe & Associates, P.A. (“O’Keefe

  PA”), The Richard Capezzali Trust (“Capezzali Trust”), Raymond Di Iulio Consulting, Inc. (“Di

  Iulio, Inc.”), and Travis Broughton (“Mr. Broughton”).        Red Panda Corp is a corporation




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  organized under the laws of the State of Florida with its principal place of business in Florida.

  Reiman, Inc. is a corporation organized under the laws of the State of Florida with its principal

  place of business in Florida. Upon information and belief, Alzadah LLC is a limited liability

  company organized under the laws of the State of Florida, whose members are all citizens of

  Florida for diversity purposes. Upon information and belief, O’Keefe PA is a professional

  association organized under the laws of the State of Florida, whose members are all citizens of

  Florida for diversity purposes. Upon information and belief, The Capezzali Trust is a trust

  organized under the laws of the State of Florida, whose members are all citizens of Florida for

  diversity purposes. Di Iulio, Inc. is a corporation organized under the laws of the State of Florida

  with its principal place of business in Florida. Finally, Mr. Broughton is an individual domiciled

  in the State of Florida. Accordingly, Satori Waters, LLC is a citizen of Florida for diversity

  purposes.

         4.      Defendant Luxe Wellness, LLC is a limited liability company organized under the

  laws of the State of Florida. As a limited liability company, Luxe Wellness, LLC’s citizenship is

  determined by that of its members. Rolling Greens MHP, L.P., 374 F.3d at 1022. Luxe

  Wellness, LLC has one member, Satori Waters, LLC, which is a citizen of Florida for diversity

  purposes. See ¶ 3, supra. Accordingly, Luxe Wellness, LLC is a citizen of Florida for diversity

  purposes.

         5.      Defendant Kensho Wellness Group, LLC is a limited liability company organized

  under the laws of the State of Florida. As a limited liability company, Kensho Wellness Group,

  LLC’s citizenship is determined by that of its members. Rolling Greens MHP, L.P., 374 F.3d at

  1022. Kensho Wellness Group, LLC has one member, Satori Waters, LLC, which is a citizen of




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  Florida for diversity purposes. See ¶ 3, supra. Accordingly, Kensho Wellness Group, LLC is a

  citizen of Florida for diversity purposes.

         6.      Defendant Treatment Resources of Margate, LLC is a limited liability company

  organized under the laws of the State of Florida. As a limited liability company, Treatment

  Resources of Margate, LLC’s citizenship is determined by that of its members. Rolling Greens

  MHP, L.P., 374 F.3d at 1022. Treatment Resources of Margate, LLC has one member, Satori

  Waters, LLC, which is a citizen of Florida for diversity purposes. See ¶ 3, supra. Accordingly,

  Treatment Resources of Margate, LLC is a citizen of Florida for diversity purposes.

         7.      Defendant SW Labs LLC is a limited liability company organized under the laws

  of the State of Florida. As a limited liability company, SW Labs LLC’s citizenship is determined

  by that of its members. Rolling Greens MHP, L.P., 374 F.3d at 1022. SW Labs LLC has three

  members, Satori Waters, LLC, Scott Willard (“Mr. Willard”), and ReJeana Findlay (“Ms.

  Findlay”). Satori Waters, LLC is a citizen of Florida for diversity purposes. See ¶ 3, supra. Mr.

  Willard and Ms. Findlay are both individuals domiciled in the State of Florida. Accordingly, SW

  Labs LLC is a citizen of Florida for diversity purposes.

         8.      Almost There LLC. is a limited liability company organized under the laws of the

  State of Florida. As a limited liability company, Almost There LLC.’s citizenship is determined

  by that of its members. Rolling Greens MHP, L.P., 374 F.3d at 1022. Almost There LLC. has

  one member, Satori Waters, LLC, which is a citizen of Florida for diversity purposes. See ¶ 3,

  supra. Accordingly, Almost There LLC. is a citizen of Florida for diversity purposes.

         9.      LabSure LLC is a limited liability company organized under the laws of the State

  of Florida. As a limited liability company, LabSure LLC’s citizenship is determined by that of

  its members. Rolling Greens MHP, L.P., 374 F.3d at 1022. LabSure LLC has one member,




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  Almost There LLC., which is a citizen of Florida for diversity purposes. See ¶ 8, supra.

  Accordingly, LabSure LLC is a citizen of Florida for diversity purposes.

         10.     Quantitative Lab Solutions, LLC was a limited liability company organized under

  the laws of the State of Florida, administratively dissolved on September 22, 2017. As a limited

  liability company, Quantitative Lab Solutions, LLC’s citizenship is determined by that of its

  members.     Rolling Greens MHP, L.P., 374 F.3d at 1022.           Upon information and belief,

  Quantitative Lab Solutions, LLC’s membership consisted of Satori Waters, LLC and/or SW Labs

  LLC, which are both citizens of Florida for diversity purposes. See ¶¶ 3, 7, supra. Accordingly,

  Quantitative Lab Solutions, LLC is a citizen of Florida for diversity purposes.

         11.     Zendo Properties, LLC is a limited liability company organized under the laws of

  the State of Florida. As a limited liability company, Zendo Properties, LLC’s citizenship is

  determined by that of its members. Rolling Greens MHP, L.P., 374 F.3d at 1022. Zendo

  Properties, LLC has one member, Satori Waters, LLC, which is a citizen of Florida for diversity

  purposes. See ¶ 3, supra. Accordingly, Zendo Properties, LLC is a citizen of Florida for

  diversity purposes.

         12.     Satori Waters III, LLC is a limited liability company organized under the laws of

  the State of Florida. As a limited liability company, Satori Waters III, LLC’s citizenship is

  determined by that of its members. Rolling Greens MHP, L.P., 374 F.3d at 1022. Satori Waters

  III, LLC has one member, Satori Waters, LLC, which is a citizen of Florida for diversity

  purposes. See ¶ 3, supra. Accordingly, Satori Waters III, LLC is a citizen of Florida for

  diversity purposes.

         13.     Satori Waters IV, LLC is a limited liability company organized under the laws of

  the State of Florida. As a limited liability company, Satori Waters IV, LLC’s citizenship is




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  determined by that of its members. Rolling Greens MHP, L.P., 374 F.3d at 1022. Satori Waters

  IV, LLC has one member, Satori Waters, LLC, which is a citizen of Florida for diversity

  purposes. See ¶ 3, supra. Accordingly, Satori Waters IV, LLC is a citizen of Florida for

  diversity purposes.

          14.      RR Investco LLC is a limited liability company organized under the laws of the

  State of Florida. As a limited liability company, RR Investco LLC’s citizenship is determined by

  that of its members. Rolling Greens MHP, L.P., 374 F.3d at 1022. RR Investco LLC has one

  member, Satori Waters, LLC, which is a citizen of Florida for diversity purposes. See ¶ 3, supra.

  Accordingly, RR Investco LLC is a citizen of Florida for diversity purposes.

          15.      RR Medco LLC is a limited liability company organized under the laws of the

  State of Florida. As a limited liability company, RR Medco LLC’s citizenship is determined by

  that of its members. Rolling Greens MHP, L.P., 374 F.3d at 1022. RR Medco LLC has one

  member, Almost There LLC., which is a citizen of Florida for diversity purposes. See ¶ 8, supra.

  Accordingly, RR Medco LLC is a citizen of Florida for diversity purposes.

          16.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because a

  substantial part of the events or omissions giving rise to the claim occurred within this judicial

  district and a substantial part of the property that is the subject of this action is situated within

  this judicial district.

                                    GENERAL ALLEGATIONS

          17.      On or about November 21, 2016, Borrower and Plaintiff entered into a Credit and

  Security Agreement (the “Credit Agreement”). The Credit Agreement evidences certain Credit

  Extensions through a Term Credit Facility and a Revolving Credit Facility and encumbers

  certain personal property as Collateral (the “Collateral”), more particularly described in Exhibit




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  A to the Credit Agreement. A true and correct copy of the Credit Agreement is attached hereto

  as Exhibit A.

         18.      In order to perfect its security interest in the Collateral, Plaintiff filed UCC-1

  Financing Statements in the Florida Secured Transactions Registry as File Numbers

  20160953833X, 201609538321, 201609538318, 201609538305, 201609538291, 201609538283,

  201609538275, 201609538267, 201609538259, 201609538240, 201609538232, 201609538224,

  2016095382161 (the “Financing Statements”).           True and correct copies of the Financing

  Statements are attached hereto as Composite Exhibit B.

         19.      On or about December 5, 2016, Borrower and Plaintiff entered into a First

  Amendment to Credit and Security Agreement (“First Amendment”), making certain

  amendments to the Credit Agreement. A true and correct copy of the First Amendment is

  attached hereto as Exhibit C.

         20.      In a letter dated March 10, 2017 (“First Notice and Reservation”), Plaintiff gave

  written notice to Borrower of certain events of default under the Credit Agreement, that the

  Default Rate of interest would apply, that certain distributions could not be made, and that

  Plaintiff reserved its rights under the Credit Agreement and corresponding loan documents. A

  true and correct copy of the First Notice and Reservation is attached hereto as Exhibit D.

         21.      On or about May 23, 2017, Borrower and Plaintiff entered into a Waiver and

  Second Amendment to Credit and Security Agreement (“Second Amendment”), recognizing

  certain events of default and further amending the Credit Agreement. A true and correct copy of

  the Second Amendment is attached hereto as Exhibit E.


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    The Financing Statements were all initially filed on November 22, 2016 at 5:06 p.m., but were
  incorrectly listed as filed on November 23, 2016. The filing numbers referenced herein are the
  corrected UCC-1 Filings. However, for ease of reference, both the initial and corrected filings
  are attached hereto.


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         22.     On or about June 9, 2017, Borrower executed and delivered to Plaintiff a Waiver

  and Third Amendment to Credit and Security Agreement (“Third Amendment”), recognizing

  certain events of default and further amending the Credit Agreement. A true and accurate copy

  of the Third Amendment is attached hereto as Exhibit F.

         23.     In a letter dated July 5, 2017 (“Second Notice and Reservation”), Plaintiff gave

  written notice to Borrower of certain events of default under the Credit Agreement, that the

  Default Rate of interest would apply, that certain distributions could not be made, and that

  Plaintiff reserved its rights under the Credit Agreement and corresponding loan documents. A

  true and correct copy of the Second Notice and Reservation is attached hereto as Exhibit G.

         24.     On or about July 28, 2017, Borrower and Plaintiff entered into a Forbearance

  Agreement (the “Forbearance Agreement”). A true and correct copy of the Forbearance is

  attached hereto as Exhibit H.

         25.     On or about September 22, 2017, Borrower and Plaintiff entered into Amendment

  No. 1 to Forbearance Agreement (the “Forbearance Amendment”, together with the Forbearance

  Agreement, the “Forbearance”). A true and correct copy of the Forbearance Amendment is

  attached hereto as Exhibit I.

         26.     Borrower failed to comply with certain financial covenants, to provide proper

  financial statements and documents, to meet its obligations to Plaintiff in accordance with the

  terms and provisions of the Credit Agreement, Forbearance and corresponding loan documents.

         27.     In a letter dated October 10, 2017 (the “Default Letter”), Plaintiff gave written

  notice to Borrower that Borrower had failed to, among other things, meet required weekly

  collections covenants; stay in compliance under its facilities leases; execute a letter of intent to

  engage in a Repayment Transaction (as defined in the Forbearance); provide Plaintiff with a list




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  of all insurance payors and contact information as required by the Credit Agreement and

  corresponding loan documents, including the Forbearance; and that Borrower’s failure

  constituted a default pursuant to the Credit Agreement and corresponding loan documents,

  including the Forbearance. The Default Letter terminated the Forbearance and declared the

  entire outstanding principal indebtedness and all obligations under the Credit Agreement and

  corresponding loan documents accelerated and demanded immediate payment in full of the entire

  unpaid principal balance of the Credit Agreement and corresponding loan documents, plus

  accrued and unpaid interest thereon and the costs and expenses of Plaintiff. A true and correct

  copy of the Default Letter is attached hereto as Exhibit J.

         28.     Borrower did not pay principal and interest under the Credit Agreement and

  corresponding loan documents as provided in the Default Letter.

         29.     Borrower continues to be in default under the terms and provisions of the Credit

  Agreement and corresponding loan documents and is currently in default under the terms thereof

  in a principal amount of $3,304,117.64 as of October 16, 2017, plus interest, default interest,

  attorney’s fees, court costs, and all other amounts due and owing.

         30.     All conditions precedent to Borrower’s obligations to pay Plaintiff the

  indebtedness due and payable under the Credit Agreement and corresponding loan documents,

  and to Plaintiff’s right to bring this action have been performed, have occurred, or have

  otherwise been waived by Borrower’s conduct.

         31.     Plaintiff has found it necessary to employ and retain the services of

  McGuireWoods LLP and Berger Singerman LLP in connection with the collection of

  indebtedness due under the Credit Agreement and corresponding loan documents and has agreed

  to pay its attorneys a reasonable fee for services rendered in connection with this lawsuit.




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                                             COUNT I
                               (Action to Foreclose Security Interest)

         32.     This is an action by Plaintiff against the Defendants to foreclose a security interest

  in certain personal property located in the State of Florida.

         33.     Plaintiff re-alleges and incorporates by reference the allegations contained in

  paragraphs 1 through 31 of the Complaint.

         34.     On or about November 21, 2016, Borrower executed and delivered to Plaintiff the

  Credit Agreement, which provides Plaintiff with a security interest in the all assets of Borrower,

  including all of Borrower’s right, title and interest in and to certain personal property as more

  fully described in Exhibit A to the Credit Agreement. Section 10 of the Credit Agreement further

  provides that Plaintiff shall be entitled to collect all fees, costs and expenses incurred in pursuing

  its remedies under the loan documents, including reasonable attorney’s fees.

         35.     The security interest of Plaintiff in the equipment, furnishings, personal property,

  accounts intangibles, accounts, proceeds and other Collateral which is more particularly

  described in the Credit Agreement has been duly and properly perfected.

         36.     Borrower’s security interest in the personal property and other collateral forming

  a part of the Collateral is perfected by its filing of the Financing Statements.

         37.     Borrower has defaulted in its obligations pursuant to the Credit Agreement, all as

  alleged herein, and by reason of said defaults, Plaintiff is entitled to cause said collateral to be

  sold to satisfy the amount due Plaintiff from Borrower.

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment:

                 a.      Adjudging the lien of Plaintiff in the Collateral, which is the

         subject of this claim, senior and superior to the claims of any Defendant, or any

         other creditor, and any and all persons claiming by, through, and/or against any



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         Defendant, and foreclosing the interest of any Defendant and/or creditor, and any

         and all persons claiming by, through, and/or against any Defendant;

                  b.     Adjudging the amount due Plaintiff as principal, interest, default

         interest, attorney’s fees, court costs, and all other charges permitted under the

         Credit Agreement;

                  c.     Adjudging that the property, which is the subject of this claim, be

         sold under and pursuant to the Judgment of this Court on the date set by this

         Court;

                  d.     Awarding for the benefit of Plaintiff such other relief as the Court

         may deem necessary and appropriate; and

                  e.     Retaining jurisdiction of this action for the necessary issuance of

         all further orders that are necessary and proper under the circumstances.

                                              COUNT II
                                     (Action to Appoint Receiver)

         38.      This is an action to appoint a receiver.

         39.      Plaintiff re-alleges and incorporates by reference the allegations contained in

  paragraphs 1 through 31 of the Complaint.

         40.      Plaintiff demands the appointment of a receiver to protect and preserve the

  Collateral.

         41.      Pursuant to the terms of the Credit Agreement, Borrower is required to operate

  and maintain the Collateral in good condition and prohibit the occurrence of waste on the

  Collateral.

         42.      Borrower has defaulted under the Credit Agreement, Forbearance and

  corresponding loan documents, all as alleged herein.



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          43.     Upon information and belief, the Collateral is likely not of sufficient value to

  satisfy the debt evidenced by the Credit Agreement and corresponding loan documents, and

  Borrower has no incentive to operate and maintain the Collateral as required by the Credit

  Agreement and corresponding loan documents.

          44.     Further upon information and belief, Borrower has committed waste of and upon

  the Collateral through an increasingly aged accounts receivable that may become uncollectable

  and decreasing collections, all to the detriment of the Collateral and prospects of continued

  business operations.

          45.     Also upon information and belief, Borrower has allowed its required licensing to

  lapse to the detriment of its patients’ safety, continued business operations, and the Collateral.

          46.     Plaintiff needs to ensure that all revenues or profits which have been and are

  being generated from the operation of the Collateral are properly utilized for, among other

  things, the payment of all monetary obligations under the Credit Agreement and corresponding

  loan documents and for the operation and maintenance of the Collateral, and that the Collateral is

  adequately operated and maintained on an ongoing basis for the benefit of Plaintiff and

  Borrower’s patients.

          47.     By reason of the foregoing, Plaintiff is entitled to the appointment of a receiver to

  operate and maintain the Collateral and to prevent any further occurrence of waste to the

  Collateral, for the benefit of Plaintiff.

          WHEREFORE, Plaintiff requests the Court enter an Order appointing a receiver of the

  Collateral in accordance with Federal law.




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                                          COUNT III
                        (Action for Damages to Enforce Credit Agreement)

            48.   This is an action by Plaintiff against Borrower to enforce the terms and

  obligations of the Credit Agreement and for a judgment for damages.

            49.   Plaintiff re-alleges and incorporates by reference the allegations contained in

  paragraphs 1 through 31 of the Complaint.

            50.   Plaintiff is a party to the Credit Agreement executed by Borrower as alleged

  herein.

            51.   Borrower has defaulted under the Credit Agreement, Forbearance and

  corresponding loan documents, all as alleged herein.

            52.   As a direct result of Borrower’s defaults under the Credit Agreement, Forbearance

  and corresponding loan documents, all outstanding amounts due under the Credit Agreement and

  corresponding loan documents are due and owing and have not been paid, all as alleged herein.

            WHEREFORE, Plaintiff respectively requests that this Court enter judgment for the

  amount due and owing by Borrower to Plaintiff under the Credit Agreement and corresponding

  loan documents, including principal, interest, default interest, attorney’s fees and court costs, and

  such other relief as the Court may deem necessary and appropriate and that the Court retain

  jurisdiction of this action for the issuance for all further orders that are necessary and proper.




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  Dated: October 16, 2017            MCGUIREWOODS LLP


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